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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS

QUINN NGIENDO,                 )
                               )
                Plaintiff,     )
v.                             )
                               )                        Case No. 20-cv-2393-HLT-TJJ
UNIVERSITY PARTNERS, LLC,      )
CARDINAL GROUP INVESTMENT, INC.,)
PEAK CAMPUS MANAGEMENT, LLC, )
and ASSET CAMPUS USA, LLC,     )
                               )
                Defendants.    )

           ORDER GRANTING LEAVE TO PROCEED IN FORMA PAUPERIS

        Plaintiff has filed an Application to Proceed in District Court Without Prepaying Fees or

Costs (ECF No. 3). Based on the information provided by Plaintiff in the Application, the Court

finds that Plaintiff has shown an inability to pay the filing fees and a belief that she is entitled to

the relief requested. Thus, the Court concludes that the Motion should be granted.

        IT IS THEREFORE ORDERED that Plaintiff’s Application to Proceed in District

Court Without Prepaying Fees or Costs (ECF No. 3) is granted. Pursuant to 28 U.S.C. §

1915(a)(1), Plaintiff may commence this action without prepayment of fees or security therefor.

The Clerk shall issue Summons for Defendants based upon the information provided in

Plaintiff’s Amended Complaint. Service of the Summons and the Amended Complaint (ECF No.

6) shall be made by a United States Marshal or Deputy Marshal or by a person specially

appointed pursuant to Fed. R. Civ. P. 4(c)(3).

        IT IS FURTHER ORDERED that a copy of this Order shall be mailed to Plaintiff.

        IT IS SO ORDERED.

        Dated in Kansas City, Kansas, this 18th day of September 2020.




                                                                    Teresa J. James
                                                                    U. S. Magistrate
